             Case 6:18-bk-06806-KSJ                      Doc 13       Filed 02/04/19         Page 1 of 28



                               UNITE STATES BANKRUPTCY COURT
                                   I   E ISTRICT O  ORI A
                                      OR AN O I ISION


IN RE:                                                            C     N    :
                                                                  C
ROBERT LAWRENCE HUD IN
CAROL RA T HUD IN

               D


                                E S AR O BANK N A S
                         OTION OR RE IE RO AUTO ATIC STAY
                       R     N             N    C

             NOTICE O OPPORTUNITY TO OB ECT AN                                           OR    EARIN

P                          R                         C


                                                 US

I                                                                                                              C
    C                                            S        S              O
                                                                       A             P             P           P
C                  P               R             NE      S              A                A
                                                                  I
                           C


I                                                                                C




         W                 B       NA
Motio    o     i       o t         to       ti       t                                         :
               T           C                                                                           U   C       R
                               R                 B
                       U                B                    C               R           B
               U                        A
              Case 6:18-bk-06806-KSJ             Doc 13          Filed 02/04/19      Page 2 of 28



                O O                          D
C                   U                B           C
                                                             D                                      N
D H             N        C                                                               D    T
                             R                           C           N   C               B
    D           T                    N                                           T
                                             C                   E       A
                T                        D           T
                                 :
                A    T AT CERTAIN OT OR PARCE O      AN
                SITUATE   IN BET E   TO NS IP PER UI ANS
                COUNTY     NORT    CARO INA   AN     ORE
                PARTICU AR Y ESCRIBE AS O O S

                BEIN    OT NO       OO SI E SECTION U O
                A BE AR E P ANTATION AS E INEATE ON T AT
                CERTAIN P AT ENTIT E   INA P AN SECTION U
                 OO SI E A BE AR E P ANTATION BET E
                TO NS IP    PER UI ANS    COUNTY    NORT
                CARO INA      IC P AT IS RECOR E IN P AT
                CABINET    S I E      AP NO    PER UI ANS
                COUNTY RE ISTRY

                T                                                        D           A
    t t        t o       t tio                                                   T
                     T
                A                                D




                A


                A                                    C                       A
                                 A                                   C                   A
E         B
    Case 6:18-bk-06806-KSJ          Doc 13       Filed 02/04/19        Page 3 of 28




D


                                                 C
                U       C
                                             T
                                                              B                C


                                             C           O




                                                                                   A       L
      R        A                L                    A                         L       W
       D
                    U       C


    ERE ORE




                                    C

                                                 R                         :




                                                 W   D
                                                 B N :
                                                 A                LL
                                                 A
                                                                       C
                                                                  R        NE
                                                 A            A
                                                         :
                                                     :
                                                 E       :W
                  Case 6:18-bk-06806-KSJ       Doc 13   Filed 02/04/19              Page 4 of 28



                                         CERTI ICATE O SER ICE

              I   EREBY CERTI Y                                                                  Motio   o   i
o        t            to    ti   t                              U
    :
    EBTORS ATTORNEY                                     TRUSTEE


                  W                                     A
                       W             A                          R       B   L           R
        E C            B
O                 L                                     W                           L


    EBTORS                                              UNITE STATES TRUSTEE

R            L              H
C                      H                                D
             B          R        D                                  D                            O
              I             L                           D
                                                        U                   T               ORL
                                                        O                   U                 T
                                                                    C                        B
                                                           W W
                                                        O     L
                                                        U T R                   OR EC

D        :                  4

                                                                            M
                                                        W   D
                                                        B N :
                                                        A                   LL
                                                        A
                                                                                    C
                                                                                R           NE
                                                        A               A
                                                                :
                                                            :
                                                        E       :W
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 5 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 6 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 7 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 8 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 9 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 10 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 11 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 12 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 13 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 14 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 15 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 16 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 17 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 18 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 19 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 20 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 21 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 22 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 23 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 24 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 25 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 26 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 27 of 28
Case 6:18-bk-06806-KSJ   Doc 13   Filed 02/04/19   Page 28 of 28
